     Case 2:10-md-02179-CJB-DPC Document 6661-1 Filed 06/12/12 Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                    :     MDL NO. 2179
       “DEEPWATER HORIZON” in the                  :
       GULF OF MEXICO, on                          :     SECTION: J
       APRIL 20, 2010                              :     JUDGE BARBIER
                                                   :     MAG. JUDGE SHUSHAN
                                                   :
                                                   :     JURY TRIAL DEMANDED
                                                   :
.. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. .. ..

THIS DOCUMENT RELATES TO 10-2771 and 10-4536


                       CAMERON’S STATEMENT OF MATERIAL FACTS
                        AS TO WHICH THERE IS NO GENUINE ISSUE

                      Pursuant to Local Civil Rule 56.1 and in support of its motion for summary

judgment, Cameron International Corporation (“Cameron”) respectfully submits the following

statement of the material facts as to which there is no genuine issue.

                      1.    Cameron International Corporation (“Cameron”) has executed a

settlement agreement with BP Exploration and Production, Inc. (“BPXP”) and BP America

Production Company (“BPAP”) concerning the Deepwater Horizon incident. In that agreement,

BPXP and BPAP released all claims they have made against Cameron in this proceeding.

                      2.    In addition, in its settlements with Anadarko, MOEX, and Weatherford,

BP was assigned all the claims against Cameron asserted by those parties. See Docs. 4591,

5670-1. BP’s release of claims against Cameron also applies to the claims asserted by those

parties.




383.00017/499453.v1                                -1-
     Case 2:10-md-02179-CJB-DPC Document 6661-1 Filed 06/12/12 Page 2 of 3




Respectfully submitted,


/s/ David J. Beck
David J. Beck, T.A.                           Phillip A. Wittmann, 13625
   dbeck@brsfirm.com                          pwittmann@stonepigman.com
Joe W. Redden, Jr.                            Carmelite S. Bertaut, 3054
   jredden@brsfirm.com                 cbertaut@stonepigman.com
David W. Jones                        Keith B. Hall, 24444
   djones@brsfirm.com                  khall@stonepigman.com
Geoffrey Gannaway                             Jared Davidson, 32419
  ggannaway@brsfirm.com                        jdavidson@stonepigman.com
BECK, REDDEN & SECREST, L.L.P.        STONE PIGMAN WALTHER
One Houston Center                            WITTMANN L.L.C.
1221 McKinney St., Suite 4500         456 Carondelet Street
Houston, TX 77010                             New Orleans, Louisiana 70130
Phone: (713) 951-3700                 Phone: (504) 581-3200
Fax: (713) 951-3720                           Fax: (504) 581-3361

Attorneys for Cameron International Corporation




383.00017/499453.v1                               -2-
     Case 2:10-md-02179-CJB-DPC Document 6661-1 Filed 06/12/12 Page 3 of 3




                                   CERTIFICATE OF SERVICE


           I hereby certify that the above and foregoing document has been served on All Counsel

by electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial

Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of the

United States District Court for the Eastern District of Louisiana by using the CM/ECF System,

which will send a notice of electronic filing in accordance with the procedures established in

MDL 2179, on this 12th day of June, 2012.



                                                /s/ David J. Beck




383.00017/499453.v1                             -3-
